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        August 26, 2022

        VIA ECF

        The Honorable Brian M. Cogan
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

        Re: United States v. Thomas Barrack, et al., 1:21-cr-371 (BMC) (S-1)

        Dear Judge Cogan:

                We represent Thomas J. Barrack, Jr. in the above-referenced case. We respectfully submit
        this letter on behalf of Mr. Barrack and his co-defendant, Matthew Grimes, concerning the
        empanelment of the jury in this case. In addition to the jurors identified in the government’s letter
        whom the parties agree can be struck for cause, Messrs. Barrack and Grimes respectfully submit
        that there are additional jurors who the Court does not need to bring in for voir dire based on their
        responses to the juror questionnaire. All of these jurors indicated on their questionnaire: (1) an
        inability to sufficiently comprehend or speak English; (2) a disqualifying level of bias towards
        former President Trump and/or individuals associated with him; (3) an inability to accept
        fundamental principles of law such as the presumption of innocence; or (4) significant hardship.
        There is no reason to extend what will already be a lengthy voir dire process by requiring such
        jurors to report for further questioning.

                First, defendants submit that the Court should not call back jurors whose questionnaires
        plainly indicated that they have difficulty understanding written or spoken English in response to
        question 10. This is a case involving complex issues of intent and the parsing of numerous written
        and oral communications – any juror who cannot understand English will be incapable of serving
        in a fair trial. The jurors who should not be asked to report for this reason are jurors 60, 61, 64,
        91, 195, 245, 279, 313 (also indicated hardship), 319, 345, and 358. If the Court believes that
        follow up is necessary for these jurors, the defense would respectfully request that the Court
        consider a way of inquiring of these jurors understanding of English in their native language during
        voir dire.

                Second, defendants submit that the Court should not expend additional time and resources
        questioning jurors whose questionnaires plainly evidence a disqualifying level of bias towards
        former President Trump and/or individuals associated with him. Many jurors explicitly admitted
        on their questionnaire that they cannot be fair or impartial regarding persons associated with the
        Trump administration in response to Question 76, or indicated in response to Question 57 that
        Donald Trump is the one publicly known person who they least admire, for reasons including that
        “he’s a crook” or that he is “divisive, ignorant, racist, misogynistic, and dislikable in every way.”


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  Former President Trump is not simply a background player in this trial – he is a key figure in
  nearly every aspect of this trial and indeed he and former members of his Administration cannot
  be ruled out as potential witnesses depending on the nature of the Government’s case. The jurors
  who should not be asked to report for this reason are jurors 15, 44, 50, 77, 103, 114, 116, 119, 126,
  137 (also indicated hardship and health issues), 149, 157, 186, 213, 240, 253, 263, 278 (also
  indicated hardship), 282, 290, 299 (also indicated bias against KSA because “the Crown Prince
  killed a journalist” on question 94), 323, 329, 347 (also indicated cannot be fair and impartial
  regarding the Middle East on question 75), 364 (also indicated hardship), 373, 383 (also indicated
  inability to accept law) and 406 (also indicated knowledge of registration requirements on question
  85).

          Third, defendants submit that the Court should not call back jurors 176 and 383, both of
  whom indicated in response to question 97 that they will not accept the rule of law that a defendant
  is innocent until proven guilty and cannot be found guilty until the jury has unanimously decided
  the government has met its burden of proof. Juror 176 also indicated that he will not accept the
  rule of law that an indictment is not evidence in response to question 98.

           Finally, defendants submit that the Court should not call back jurors whose questionnaire
  plainly indicates significant personal or financial hardship in response to questions 78 or 119-125,
  such as that they will not be paid for jury service. The jurors who should not be asked to report
  for this reason are jurors 137, 243, 278, 313, and 364.

          We are aware that there are several additional jurors whom the government believes should
  be stricken for cause. If the Court were to exclude both the jurors indicated above, as well as the
  additional jurors the government has expressed to us should be stricken, there would still be 110
  jurors available to report for voir dire. Given this, the Court should not unnecessarily extend jury
  selection and should strike the jurors listed above.

         Additionally, we understand that the Court will ask potential jurors to stand and provide
  information about themselves and answer other general questions. In addition to those questions
  that the Court asks as part of its typical practice, Defendants propose the Court ask the
  supplemental general voir dire questions attached as Exhibit 1.

         Following those general questions, we suggest follow up with specific questions for each
  remaining juror, as needed, as indicated in Exhibit 2.

         We are available at any time if the Court has additional questions.




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  Respectfully submitted,

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